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                  UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,


              Plaintiffs,
                                              Case No. 1:18-cv-00950-LO-JFA
        v.

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC.


              Defendants.



       COX’S MEMORANDUM OF LAW IN SUPPORT OF ITS OPPOSITION TO
                PLAINTIFFS’ OMNIBUS MOTION IN LIMINE
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                                       INTRODUCTION
        The purpose of a motion in limine is to “allow a court to rule on evidentiary issues in

 advance of trial in order to avoid delay, ensure an even-handed and expeditious trial, and focus the

 issues the jury will consider.” Intelligent Verification Sys., LLC v. Microsoft Corp., No. 2:12-CV-

 525, 2015 WL 1518099, at *9 (E.D. Va. Mar. 31, 2015). It is not a vehicle for excluding relevant,

 admissible evidence that happens to be unfavorable to a party’s case. Plaintiffs’ “omnibus” motion

 throws nearly a dozen ill-founded evidentiary arguments against the wall, hoping that a few might

 stick and open a path to a $1.6 billion judgment undeserved on the merits. Plaintiffs’ efforts to

 handicap Cox’s defense should be rejected and their motion denied.

                                          ARGUMENT
 I.     Plaintiffs Are Not Entitled to Non-Mutual Offensive Collateral Estoppel.

        Plaintiffs seek to preclude Cox from “re-litigating” aspects of its defense that they claim

 were decided in BMG. Issue preclusion is discretionary; to apply it, “the proponent must

 demonstrate” that the issue or fact is identical to one previously litigated, actually resolved,

 “critical and necessary” to a prior judgment, and that the prior judgment is final and valid. In re

 Microsoft Corp. Antitrust Litigation, 355 F.3d 322, 326 (4th Cir. 2004). Here, none of the issues

 presented were litigated or decided in BMG, rendering collateral estoppel unavailable.

        A.      Much of the material designated by Plaintiffs is not eligible for estoppel.

        Much of the BMG material for which Plaintiffs seek estoppel is not properly subject to

 estoppel at all. Large portions of the passages highlighted in Gould Declaration Ex. 1 consist of

 direct quotes from documents introduced into the BMG summary judgment record.1 To the extent

 those documents are relevant and otherwise admissible in this litigation (and Cox has explained


 1
  See, e.g., ECF No. 473-3 (Declaration of Jeffrey Gould (“Gould Dec.”) Ex. 1 at 656-658 and
 659-60).


                                                  1
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 elsewhere why they are not),2 they are not “fact-findings” subject to estoppel. There is no sense,

 for example, in which the contents of a particular email were “litigated” or “decided” in BMG. If

 Plaintiffs can admit these documents into evidence at trial, they may rely on the documents for

 their contents, just like any other documentary evidence. Issue preclusion has no role here.

        B.      The BMG findings for which Plaintiffs seek estoppel relate specifically to the
                availability of a DMCA safe-harbor defense, which is not presented here.

        As to any BMG findings that are potentially eligible for estoppel, Plaintiffs fail to carry

 their substantial burden on the threshold requirement that the second litigation involve an issue

 “identical” to one previously litigated and decided. See Allen v. Zurich Ins. Co., 667 F.2d 1162,

 1166 (4th Cir. 1982). The key findings on which Plaintiffs seek estoppel include the Court’s

 findings that 1) “the record conclusively establishes that before the fall of 2012 Cox did not

 implement its repeat infringement policy;”3 2) “[t]he emails in the record strip Cox of any

 innocence,” because they “make clear that it was Cox’s policy to intentionally circumvent the

 DMCA,” rendering Cox’s repeat-infringer policy “an absolute mirage;”4 3) “no reasonable juror

 could find that Cox implemented a repeat infringer policy before the fall of 2012;”5 4) “Cox was

 able to tell from … account holders’ statements and conduct that infringement was occurring, [but]

 continued to provide service;”6 5) “[b]y the time an account holder reaches the end of Cox’s

 graduated response procedure, the chance that the account holder is not a willful infringer is

 substantially lessened;”7 and 6) “the emails in the record reveal that Cox had knowledge that at

 least some of its account holders were intentionally and repeatedly infringing.”8


 2
   See Cox Motion in Limine No. 3 (ECF No. 478)
 3
   Gould Dec. Ex. 1 at 655.
 4
   Id. at 658
 5
   Id.
 6
   Id. at 662.
 7
   Id.
 8
   Id.


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        But all those findings (indeed all the findings for which Plaintiffs seek estoppel), relate

 specifically to Cox’s attempt in BMG to invoke the DMCA safe-harbor—a defense that Cox has

 not asserted in this action. That defense required the Court to determine whether Cox “reasonably

 implemented its repeat infringer policy.” As Plaintiffs concede (Mem. 2), that DMCA-specific

 issue will not be litigated here.9 Nor have Plaintiffs made any attempt to explain what other issue

 in this litigation is “identical” to that inquiry that makes the Court’s DMCA-related fact-findings

 appropriate for estoppel. Nor could they: as Cox has explained, the emails on which the BMG

 plaintiffs largely relied to attack Cox’s DMCA defense are not relevant to any issue in this case.10

 Because Plaintiffs have not attempted to identify an identical issue for estoppel, and because the

 only issues for which the findings were used in BMG are not presented here, estoppel is improper.11

        Conscious of this flaw, Plaintiffs claim that identity of the “ultimate issue” is not necessary

 so long as there is identity of “necessary intermediary findings,” and that “[a]ny related facts

 already addressed and resolved are precluded from relitigation.” Mem. 2 (emphasis added). But

 that is not the law. As Plaintiffs’ authority explains, the key is that the previous case “must have

 effectively resolved the issue presented here.” Manganella v. Evanston Ins. Co., 700 F.3d 585,

 591 (1st Cir. 2012) (cited at Mem. 2). If Plaintiffs were correct that subsidiary findings are eligible

 for estoppel whether they relate to an issue presented here or not, the identity-of-issue requirement

 would be meaningless.12 Plaintiffs have not explained what “the issue presented here” is, never

 mind demonstrated that it was resolved in or necessary to the judgment in BMG.



 9
   ECF No. 473 (“Mem.” refers to Plaintiffs’ Memorandum in Support of Their Omnibus MIL).
 10
    See ECF No. 3 (Cox Motion in Limine No. 3).
 11
    In opposing Cox’s motion to exclude the same emails in BMG, the BMG plaintiffs’ argument
 for relevance was specific to the Rightscorp issue. See Ex. A (BMG Dkt. 974 at 4).
 12
    Bouchat v. Champion Prods., Inc., 327 F. Supp. 2d 537 (D. Md. 2003), cited at Mem. 3, is not
 contrary. It merely expresses the basic principle that collateral estoppel requires identify of issues,
 not identity of claims; it is irrelevant here, as Plaintiffs have not demonstrated identity of issues.


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         C.      To the extent Plaintiffs seek to use the BMG findings as evidence of Cox’s
                 knowledge of direct infringement, estoppel is unavailable.

         If it is Plaintiffs’ intention to rely on BMG to support the ultimate issue in this case—Cox’s

  alleged knowledge of, or willful blindness to, alleged direct infringement that was the subject of

  Plaintiffs’ notices, the Court’s findings made in resolving Cox’s DMCA defense cannot be the

  subject of estoppel on the issue of Cox’s knowledge of the alleged infringement identified by these

  notices, because that issue was neither pled, litigated, nor decided in the BMG summary judgment

  proceedings, and is not the subject of a valid and final judgment. In re Microsoft, 355 F.3d at 326.

  II.    Evidence That 96% of Subscribers Stop Receiving Notices After #5 is Admissible.

         Cox’s former privacy counsel, Randall Cadenhead, created DX-74 in or around 2010 with

  the assistance of Cox employee Brent Beck in connection with negotiations around CAS.

  Plaintiffs’ motion focuses on a single page of DX-74, Bates No. COX_SONY_00519178 at 9198.

  They concede this page is relevant but claim it lacks foundation, is hearsay, and would be

  prejudicial. They are wrong.

         A.      A foundation has been laid for DX-74.

         Cox has laid a foundation for DX-74 and could further do so at trial if required. The burden

  to authenticate evidence “is not a high one.” Wells v. Liddy, 37 F. App’x 53, 63 (4th Cir. 2002).

  Under FRE 901, a document’s proponent need only “make a prima facie showing that the exhibit

  is what the proponent claims it to be.” Wells, 37 F. App’x at 63 (quoting Weinstein’s Federal

  Evidence, § 901.02[3] (2d. ed. 2001)). A primary way to lay foundation is through “testimony of

  a witness with knowledge.” Fed. R. Evid. 901(b)(1). Cox has provided that witness in Cadenhead.

  At his deposition, which Cox designated for trial, Cadenhead testified that




                                                   4
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                                                    15
                                                         This satisfies FRE 901(b)(1).16

         Plaintiffs claim that because neither Cadenhead nor Beck recalls precisely how the

  document was created, it lacks foundation. But such concerns about the details of the document

  go to weight, not admissibility. See United States v. Masiarczyk, 1 F. App’x 199, 209 (4th Cir.

  2001) (“Generally, objections that an exhibit may contain inaccuracies, ambiguities, or omissions

  go to the weight and not the admissibility of the evidence.”) (quotation omitted); In re Denslow,

  104 B.R. 761, 766 (E.D. Va. 1989). Plaintiffs cite no case law to the contrary.

         Moreover, contrary to Plaintiffs’ claim that the underlying data Cox produced is unrelated

  to the chart, the underlying email and attached data demonstrate that the data was pulled from



                                                  .17 Plaintiffs additionally claim that there is no

  foundation for the statement within the document regarding “Notices” sent to customers because

  the email concerns “infringement tickets.” Mem. 5. They say this is an important distinction

  because Cox rolled up multiple notices received within a 24-hour period in a single ticket. Id. But

  Beck explained at deposition that




  13
     See Ex. B (Cadenhead Dep., 285:2-285:9).
  14
     Id. at 285:18-286:2, 291:13-292:1.
  15
     See Gould Decl. Ex. 8 (Beck Dep., 29:21-35:2).
  16
     It was admitted in BMG on the same foundation. Ex. C (BMG Trial Tr. 1343:21-1344:10).
  17
      See Gould Decl. Ex. 5 (COX_SONY_00974461). Plaintiffs’ claim that Cox withheld this
  document until late into discovery is false. A version of this document, including the page at issue,
  was admitted in BMG and produced to Plaintiffs in January (BMG DX0141). Despite having this
  document for many months and asking about it at three depositions in early June, Plaintiffs did not
  move to compel this document until June 17, the last day for motions.


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                                                           18
                                                                His underlying email to Cadenhead thus

  supports the assertion in DX-74 that it is                                                        Any

  clarification that is needed outside of the referenced testimony can be elicited at trial.

         B.      DX-74 is not hearsay.

         DX-74 is not hearsay for multiple reasons. First, it is admissible as a business record. Data

  from Cox’s CATS is recorded in the normal course of business and there is no argument to the

  contrary. Branch v. Gov’t Employees Ins. Co., 286 F. Supp. 3d 771, 777 (E.D. Va. 2017)

  (“evidence that has been compiled from a computer database is … admissible as a business

  record”). Indeed, Plaintiffs intend to rely on this same data in their case. The presentation qualifies

  as a business record because it was prepared in the normal course of Cadenhead’s and Beck’s job

  responsibilities.19 Cadenhead testified that he

                                                                                        , including DX-

  74.20 Beck testified that when data was needed to prepare such analyses, he could and would pull

  data from CATS.21 A foundation has, or can be laid, to qualify DX-74 as a business record, rending

  it admissible under FRE 803(6).

         At trial, DX-74 can also be admitted for purposes other than proving the truth of the matter

  asserted. First, contrary to Plaintiffs’ claim, the document is not “the primary basis for Dr. Lynne



  18
     See Gould Decl., Ex. 8 (Beck Dep. 27:4-28:1). Cox’s 30(b)(6) designee on this topic, Matthew
  Carothers, similarly explained that
                                   See Ex. D (Carothers Dep. 185:2-13).
  19
     Smith v. Beck, 2011 WL 65962, at *4 (M.D.N.C. Jan. 10, 2011), report and recommendation
  adopted, 2012 WL 1340766 (M.D.N.C. Apr. 18, 2012) (admitting internal investigation report as
  a business record because it was created pursuant to routine job responsibilities).
  20
     Cadenhead Dep. 284:2-13, 285:18-286:2, 291:13-292:1.
  21
     Gould Decl., Ex. 8 (Beck Dep. 32:2-9, 35:3-37:9). DX-74 also qualifies as an admissible
  summary under FRE 1006. Cox produced the ticket and customer data upon which the
  presentation is based. Cox can authenticate this data at trial, which provides a sufficient basis for
  the admission of DX-74 as a summary exhibit.


                                                    6
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  Weber’s … opinion that Cox’s response to infringement notices as ‘effective.’” Mem. 6. Rather,

  Dr. Weber relied on her

                                        , none of which is the subject of DX-74. Weber did reference

  DX-74 to note that



                         22
                              Weber’s analyses do not rely on the truth of the document’s assertions.

            Moreover, Cox does not need to admit this document at trial to support an argument that



                                                          DX-74 demonstrates that Cox had a good faith

  basis for believing in the effectiveness of its graduated response system as early as 2010. Thus,

  when Cox utilized that system in responding to the notices sent by plaintiffs during the damages

  period (2012-2014), it had a good faith basis that it was not “contributing to” the infringement of

  which Plaintiffs have complained nor was it “willfully blinding” itself to that infringement. Rather,

  Cox believed that its CATS system was an effective response to infringement notices. The

  document also demonstrates that Plaintiffs, through CAS negotiations, were aware of Cox’s

  graduated response and Cox’s decision not to join CAS because it believed CATS was an effective

  approach. The document has relevance separate and apart from the truth of the matter asserted.

            C.     Pre-trial preclusion is not warranted under Rule 403.

            Plaintiffs also claim the exhibit should be precluded under Rule 403 because it is

  “misleading, deceptive, and unfairly prejudicial.” Mem. 7. First, as discussed above, Plaintiffs are

  incorrect that the exhibit is misleading because it references “Notices” but the underlying data

  pertains to “tickets.” Mem. 7. Beck, Carothers, and Cadenhead each explained that the document



  22
       See Ex. E (Rebuttal Expert Report of Cox’s Expert Dr. Lynne Weber ¶ 95, n.82).


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                                            . See supra at 4-6. Plaintiffs also claim that “Cox has no

  proof that these subscribers actually stopped infringing ….” Id. (emphasis added). The jury is free

  to adopt any reasonable inference that can be drawn from this document, including the inference

  that subscribers who were not the subject of any further customer facing actions were not the

  subject of any further notices because they did in fact stop infringing. Plaintiffs may dispute the

  inference that Beck and Cadenhead drew, but that is no basis for invoking Rule 403.

  III.   Cox Should Be Permitted to Introduce Evidence Relating to CAS.

         During Plaintiffs’ claim period, the RIAA and several Plaintiffs signed a “memorandum of

  understanding” (“MOU”) committing to the Copyright Alert System (“CAS”), as the standard by

  which participating rights holders and major ISPs would abide for detecting copyright

  infringements, for sending infringement notices to ISPs, and for how ISPs were to interact with

  their subscribers in response to those notices.23 CAS was a graduated response system that placed

  caps on the number of notices that would be sent to ISPs. Cox’s CATS system implemented a

  similar progressive response policy, and it also capped notices. But Cox did not sign onto CAS

  because it believed that CATS was more effective at combating alleged copyright infringement

  than CAS. For one thing, CATS provided for the possibility that certain “repeat infringers” would

  have their internet service terminated,                                                     .

         Plaintiffs now seek to preclude Cox from presenting evidence “relating to the policies or

  practices of other ISPs,” including evidence relating to the CAS procedures the Plaintiffs

  themselves endorsed, while simultaneously contending that Cox’s implementation of a stricter and

  more extensive progressive responsive system constituted turning a blind eye to notices of

  infringement. See Mem. 7-1. Plaintiffs’ reliance on this Court’s ruling on a motion in limine in


  23
   Ex. F (FAQ’s on The Center for Copyright Information and Copyright Alert System, Bates No.
  COX_SONY_00006140).


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  BMG should be rejected given the very different facts here—not only was BMG not a signatory to

  CAS, but unlike here, the BMG evidentiary record on CAS was undeveloped.

         A.       The CAS evidence is relevant.

         During Plaintiffs’ claim period, five major ISPs (



              ), content owners (

                                ), the RIAA, and the Motion Picture Association of America entered

  into the MOU to address and deter online copyright infringement.24 In the MOU, the RIAA and

  the signatory Plaintiffs




                                                                                                25



         Cox was not a signatory to the MOU. It had already implemented its own graduated

  response system—CATS—for addressing copyright infringement notices years before CAS was

  implemented. In fact, Cox’s graduated response was tougher than CAS in several respects. Most

  notably, unlike CAS, Cox’s process resulted in the termination of service for certain “repeat

  infringers.”26 By contrast,
                                                            27
                                                                 And unlike CAS, CATS did not




  24
       See Ex. G (Memorandum of Understanding or “MOU,” Plaintiffs_00286200 at
  Plaintiffs_00286220-36).
  25
     Id. at 8-15.
  26
     See Ex. H, (Bates No. COX_SONY_00001240).
  27
     See Ex. I (Marks Dep., 139:12-24); see also Ex. J (Lesser Dep., 116:13-21, 205:16-22).


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  witnesses, Cox should be able to rebut it with evidence that Plaintiffs and their agent entered an

  agreement that did not require termination and endorsed responses to infringement notices that

  were a pale imitation of Cox’s—which challenges the credibility of this testimony.

            Plaintiffs claim that this evidence is irrelevant because they do not consider CAS an

  “industry standard,” ignoring the fact that nearly the entire music and motion picture industry as

  well as the leading ISPs agreed to it. The fact that Plaintiffs (uniformly) testified at deposition that



                                                  . At most, it frames a factual issue.35

            B.      Cox has adduced competent evidence relating to CAS.

            Plaintiffs initially refused to produce discovery on CAS, but were ordered to produce the

  MOU, the “implementation agreements” showing what measures each ISP agreed to take, and

  documents sufficient to show whether each Plaintiff was a signatory during the claim period.36

  Cox subsequently subpoenaed Jill Lesser, the former executive director of the Center for Copyright

  Information, the entity that administered CAS. Lesser authenticated the MOU and other CAS-

  related documents and testified on several topics, including
                                                                                              37
                                                                                                   Cox also

  questioned the RIAA and the CAS-signatory Plaintiffs about their involvement in CAS. Indeed,

  RIAA witness Steven Marks testified that




  35
       Plaintiffs’ implication that
  36
     See Ex. L (Jan. 25, 2019 Hr’g Tr. at 61:22-62:9; see also id. at 62:17-19 (“each plaintiff needs
  to get on the record as to whether they were or weren’t part of this.”).
  37
     See Ex. J (Deposition of Jill Lesser, 88:16-17, 92:12-93:22, 106:16-18, 111:4-22, 115:19-
  116:2. 205:21-22).


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                                .38 Cox also subpoenaed Stroz Friedberg (“Stroz”), an independent

  consultant. While Stroz is independently relevant to this case because it assessed the MarkMonitor

  system (discussed below in Section D), it also assessed the various ISPs’ implementations of CAS,

  and Cox received and took testimony on those assessments.39

         Much of Plaintiffs’ motion focuses on the fact that Cox did not subpoena individual ISPs

  about their policies. See Mem. 9. As a result, Plaintiffs claim that “Cox has no competent evidence

  to offer.” Id. But this is patently false; as detailed above, there are at least six witnesses with

  personal knowledge of CAS, documents detailing ISPs’ obligations under it, and independent

  assessments of how the obligations were implemented. This is very different from BMG, where

  the only witness proposed to testify about CAS and other ISP practices was Cox’s witness Matt

  Carothers.40

         Indeed, there is competent evidence regarding the practices of the other ISPs. Stroz

  assessed each of the five ISPs’ implementation of CAS and found that they

                                                                     . Both the Stroz witness and the

  RIAA witness authenticated these reports in their depositions.41 There is therefore no need for Cox

  to call the ISPs themselves to testify that they did what Stroz Friedberg found that they did,

                                                       Plaintiffs’ apparent argument that the only

  competent evidence as to other ISPs’ practices is first-hand testimony from the ISPs themselves

  contradicts well-established evidentiary rules. See United States v. Lightly, 677 F.2d 1027, 1028



  38
     See Ex. I (Deposition of Steven Marks, 100:12-102:10, 129:4-132:9).
  39
     See e.g., Ex. I (Marks Dep., 200:2-10, 201:7-12).
  40
     Gould Dec., Ex. 13 at 4 (denying Cox’s motion in part because “the jury would be presented
  only with Mr. Carothers’s impressions of other ISPs’ practices based on his conversations with
  their abuse teams. But Mr. Carothers has no personal knowledge of these issues.”).
  41
     Ex. M (Deposition of Samuel Rubin, 200:20-202:24, 205:17-207:9); Ex. I (Marks Dep.,
  194:11-23, 200: 2-10, 207:16-24, 212:5-13, 216:14-21).


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  (4th Cir. 1982) (a witness must simply have “personal knowledge of the matters about which he is

  to testify”).

           In any event, Plaintiffs’ argument wrongly assumes that the only relevant takeaway from

  CAS is that other ISPs                                                                . See Mem. 8

  (arguing that Cox should be precluded from arguing that

                                   . But, as set forth above and below, CAS’s relevance is far broader

  than that because the RIAA and Plaintiffs themselves negotiated and signed onto the agreement.

  This evidence is also relevant to Plaintiffs’ primary theory of the case—that Cox’s graduated

  response was an unreasonable response to infringement notices, and that

                                         CAS is relevant because it shows that Cox’s similar but

  tougher graduated response was a reasonable approach. Plaintiffs cannot dispute that there is

  competent evidence of CAS’s terms and that Plaintiffs and the RIAA voluntarily participated in it.

           C.     The BMG in limine ruling on CAS does not govern here.

           Plaintiffs emphasize that the BMG Court granted BMG’s motion to prohibit Cox from

  referencing CAS.42 Then, prior to the BMG retrial, Cox moved for reconsideration, which the

  Court denied for several reasons, none of which apply here.43

           First, unlike BMG, the RIAA and several Plaintiffs themselves negotiated and signed onto

  CAS. This is not simply an issue of comparing Cox’s policies to those of other ISPs—this evidence

  shows what Plaintiffs themselves considered to be an acceptable response from ISPs to

  infringement notices and is therefore highly relevant to whether Cox’s response was unreasonable.

           Second, the Court excluded CAS-related evidence in BMG in part because it would have

  been introduced solely through a Cox witness who it found lacked personal knowledge. But here


  42
       Gould Dec., Ex. 6 (Nov. 25, 2015 Order on Motions in Limine and Daubert Motions).
  43
       Gould Dec., Ex. 13 (Aug. 9, 2018 Order to Cox’s Motion to Reconsider).


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  there is extensive documentary evidence and the testimony of a number of witnesses with personal

  knowledge of CAS, including Steven Marks, who, for the RIAA,                  and signed onto CAS

  on behalf of



                                                                                    .

            Third, the Court’s final reason for excluding CAS-related evidence in BMG was that it

  found Cox had not adequately disclosed this theory during discovery.44 Plaintiffs cannot argue that

  is the case here: Cox has aggressively sought CAS discovery since the beginning of discovery.

            D.     Excluding this evidence will not significantly streamline the trial.

            Plaintiffs ask the Court to exclude not only documentary evidence relating to CAS and the

  testimony of Lesser, but also the testimony of Stroz and former employees of Harbor Labs,

  claiming that “[e]ach witness was deposed only on matters pertaining to CAS.” See Mem. at 11.

  This is a misrepresentation. Stroz and Harbor Labs were subpoenaed because they conducted

  independent assessments of the MarkMonitor system used to purportedly detect and verify the

  alleged infringements. The RIAA and CAS-signatory Plaintiffs used MarkMonitor both for CAS

  and to send notices to Cox. These witnesses were questioned at length about their critiques of

  MarkMonitor and recommendations for improvement; this had nothing to do specifically with

  CAS or the practices of other ISPs. Indeed, the Harbor Labs witnesses did not testify about CAS

  at all, except vis-à-vis which version of the MarkMonitor system was used for it. And while the

  Stroz witness testified about its assessment of ISPs’ implementation of CAS, the majority of his

  testimony addressed Stroz’s recommendations for improvements to MarkMonitor that had nothing

  to do with CAS. Granting Plaintiffs’ motion would not obviate the need to call these witnesses.



  44
       Gould Dec., Ex. 13 at 4-5.


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  IV.    Cox Is Entitled to Present Evidence That It Is Not Liable for Infringement by
         Certain Third-Party Users Other than Named Account Holders.

         Plaintiffs ask the Court to “preclude Cox from arguing that it is not liable for infringement

  over its network by users other than named account holders,” claiming that the Court precluded

  such arguments in BMG. Mem. 11-12. Plaintiffs are wrong. Contrary to Plaintiffs’ misleading

  paraphrase, the Court did not hold that an ISP was categorically liable for the acts of “those users

  [with access to Cox’s service].” Mem. 12.45 Nor did the Court “reject” Cox’s argument that it

  should not be liable for infringement by certain categories of non-subscribers. Rather, the Court

  recognized that “Cox’s liability for infringement over its network is not boundless,” and expressly

  held that Cox was “free to present evidence at trial that might weaken any inference raised by [the

  plaintiffs’] evidence of infringement.” BMG, 149 F. Supp. 3d at 664. Similarly, the Court’s ruling

  on BMG’s concurrent motion in limine expressly permitted Cox to present evidence that it was not

  liable for unauthorized users of a residential Internet account.46

         Taken together, the Court’s BMG rulings recognized at least three categories of users of a

  residential Internet account: the user whose “name … appear[s] on the bill;”47 other “member[s]

  of a multimember household” who were “authorized users;”48 and unauthorized users.49 Contrary

  to Plaintiffs’ mischaracterization, the BMG Court plainly recognized that Cox might not be liable




  45
     The phrase “users [with access to Cox’s service]” is Plaintiffs’ language, not the Court’s, and
  is misleading. What the Court actually said was that “it is typical for each member of a
  multimember household to access the internet via an agreement between Cox and one
  individual in the household,” and that “evidence that any one of those users infringed would be
  sufficient,” even if the user’s “name does not appear on the bill.” BMG Rights Mgmt. (US) LLC
  v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 664 (E.D. Va. 2015) (emphases added).
  46
     See Gould Decl. Ex. 6 (BMG Dkt., ECF 691 at ¶ 17 (Order on BMG’s Motion in Limine No.
  6)).
  47
     BMG, 149 F. Supp. 3d at 664.
  48
     See Gould Decl. Ex. 6 (BMG Dkt. 691 at ¶ 17).
  49
     See id.


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  for infringement by unauthorized users. Accordingly, Cox was permitted to offer evidence to that

  effect. The Court should not depart from that rule here.50

         Finally, to the extent Plaintiffs seek to preclude Cox from arguing that it is not liable for

  infringement by end users of Cox Business accounts, that argument should be rejected. The Court’s

  BMG ruling addressed only residential accounts, and is inapplicable to issues of Cox’s liability for

  infringement by Cox Business end users. Unlike alleged infringement by residential subscribers—

  where the sole question was whether the accused direct infringer was an authorized or

  unauthorized user of the account—accused Cox Business account holders are not, and cannot be,

  direct infringers. At most they are secondary infringers, based on the activities of their own end

  users. If Cox is to be held liable, it must be for the direct infringements of those end users.

  Accordingly, argument and evidence concerning Cox’s liability for end users of Cox Business

  subscribers is directly relevant to core issues that the jury must decide in this case, including at

  least (1) whether Plaintiffs’ notices identifying Cox Business account holders were sufficient to

  give Cox the requisite knowledge of direct infringement by Cox Business end users; (2) whether

  Cox had the requisite ability to “do something” about direct infringement by Cox Business end

  users; (3) whether Cox had the right and practical ability to supervise direct infringement by Cox

  Business end users; and (4) whether Cox derived a direct financial benefit from infringing

  activities of Cox Business end users. Thus, even if the Court were inclined to grant Plaintiffs’

  motion as to Cox’s residential subscribers—which it should not—there is no basis for granting it

  as to Cox Business subscribers. The Court should reject Plaintiffs’ baseless motion as to both kinds



  50
     Plaintiffs’ pretense that Cox’s Authorized Use Policy (“AUP”) is a new factor, or a relevant one,
  is specious. Just as in BMG, where the very same argument was made and rejected, the AUP is a
  red herring: a private agreement between Cox and its subscribers cannot create liability where none
  exists. See Ex. N (BMG Dkt. 560 at 4).


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  created one, but that is no justification for telling the jury only half of the story. Third, the AM

  Spreadsheet
          69
               Indeed,

                                                                                            .70 Thus, at a

  minimum, the AM Spreadsheet bears on the bulk of the alleged infringement at issue.

               C.     Even if the AM Spreadsheet were inadmissible, Cox’s expert could rely on it
                      under Rule 703.

               Finally, regardless of the spreadsheet’s admissibility, Cox’s expert Dr. Feamster can offer

  opinions reliant on it by Fed. R. Evid. 703, which “permits the admission of expert opinion

  testimony even though the expert has relied on evidence that is inadmissible,” so long as the

  evidence is “of a type reasonably relied upon by experts in the particular field in forming opinions

  or inferences upon the subject.” See Redman v. John D. Brush & Co., 111 F.3d 1174, 1179 (4th

  Cir. 1997). Feamster has explained his basis for relying on the AM Spreadsheet at length.71

  VII.         Cox’s Customer Emails Disputing Infringement Notices Are Admissible.

               Plaintiffs seeks to exclude from evidence more than 1,800 emails Cox received from

  subscribers in response to infringement notices, arguing that the emails are hearsay and that their

  admission would unfairly prejudice Plaintiffs. Plaintiffs are wrong on both counts.

               A.     Cox’s customer emails are not hearsay.

               Plaintiffs argue that Cox’s customers’ responses objecting to infringement notices are

  hearsay that cannot be used “to cast doubt on whether Plaintiffs have proven direct infringement.”

  Mem. 20. But an out-of-court statement is hearsay only if “offer[ed] in evidence to prove the truth



  69
       See Ex. X (Ikezoye Dep. at 175:25-177:22, confirming that the transaction logs contain
  70
       See Ex. U (Frederiksen-Cross Dep., 162:9-163:4).
  71
       See ECF No. 364-11, Declaration of Dr. Nick Feamster.


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  of the matter asserted in the statement.” Fed. R. Evid. 801(c). The “matter asserted” in the nearly

  2,000 customer emails is generally a subscriber’s statement that he or she did not download the

  file identified in a MarkMonitor infringement notice. See Gould Dec. Ex. 24. Cox will not offer

  the emails to prove the truth of those assertions. Rather, Cox will offer the emails for other

  purposes. First, the emails provide evidence of Cox’s state of mind with respect to infringement.

  Fed. R. Evid. 803(3). Whether the customers’ assertions of innocence or mistake were true or not,

  Cox’s receipt of several thousand emails making such assertions undermines Plaintiffs’ claim that

  infringement notices are sufficient to prove actual knowledge of, or willful blindness to,

  infringement. Second, Cox will offer the emails to rebut Plaintiffs’ claim that no Cox subscriber

  ever disputed an allegation of infringement. Third, Cox’s expert Dr. Weber relies on these emails

  to support her opinion that it was reasonable for Cox not to automatically terminate repeat

  infringers (see Weber Rep., ¶¶ 78-79) or to respond to first notices (id., ¶ 93). Offered for any of

  these purposes, Cox’s customer emails are not hearsay, and are admissible.

         B.      The customer emails are not unfairly prejudicial to Plaintiffs.

         Plaintiffs claim that the customer emails should be excluded under Rule 403 because they

  have “a strong potential to mislead and cause unfair prejudice,” and would create “a situation …

  rife for [sic] speculation, confusion, or abuse.” Mem. 20. But as the party opposing admission

  under Rule 403, it is Plaintiffs’ burden to demonstrate why presenting Cox’s customer emails to

  the jury would cause undue “speculation confusion or abuse.” See, e.g., United States v. Tse, 375

  F.3d 148, 164 (1st Cir. 2004). They have not done so. Their complaint that “[t]hese out of court

  declarants cannot be cross-examined, nor their assertions meaningfully tested” is merely a

  reiteration of their hearsay claim, not a source of prejudice. Evidence that is unfavorable to the

  Plaintiffs’ case may cause “prejudice,” but it does not constitute unfair prejudice under Rule 403.

  See, e.g., Old Chief, 519 U.S. at 193.


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  VIII. Cox Should Be Permitted to Present Evidence and Argument Relating to Plaintiffs’
        Per-Work Revenues.

         Plaintiffs claim that their historical per-work revenue numbers should be excluded as

  irrelevant and prejudicial. Mem. 20. On relevance, Plaintiffs are simply wrong: the jury may

  consider several factors in determining statutory damages, including the relative value of

  Plaintiffs’ copyrights. As for prejudice, Plaintiffs’ conclusory assertion that per-work revenues are

  “inherently misleading” and “unsupported by the evidence” is based entirely on a claim that its

  revenues are “cannibalized” by piracy—a claim for which, ironically, there is no evidence at all.

         Ample authority supports the relevance of per-work value in determining statutory

  damages. If Plaintiffs establish liability at trial, the jury will be instructed to consider several

  factors when assessing statutory damages on thousands of works. Among those factors may be the

  relative value of each of Plaintiffs’ copyrights. See, e.g., Sony BMG Music Entm’t v. Tenenbaum,

  721 F. Supp. 2d 85, 93 (D. Mass. 2010), aff’d in part, vacated in part, rev’d in part, 660 F.3d 487

  (1st Cir. 2011); Fitzgerald Pub. Co. v. Baylor Pub. Co., 807 F.2d 1110, 1117 (2d Cir. 1986); United

  Features Syndicate, Inc. v. Spree, Inc., 600 F. Supp. 1242, 1245–46 (E.D. Mich. 1984).72 The jury

  has wide discretion in determining statutory damages. UMG Recordings, Inc. v. Escape Media

  Grp., Inc., 2015 WL 1873098, at *8 (S.D.N.Y. Apr. 23, 2015). It could (for example) decide to

  award higher statutory damages for more frequently infringed works or those works from which

  Plaintiffs earn more revenue. Without Plaintiffs’ per work revenue for the years at issue, the jury

  would be deprived of the information with which to make this type of valid assessment.73


  72
     Judge Anderson recognized the relevance when he compelled Plaintiffs to produce it. See Ex.
  L (Jan. 25, 2019 Hr’g Tr. 20:22-24) (“THE COURT:…if there is a copyrighted work in which
  there has been no revenue for four years, don’t you think that's going to be significant?”).
  73
     Plaintiffs’ claim that this information is “highly confidential, competitively sensitive
  information that Plaintiffs do not share publicly” is unavailing. Plaintiffs brought this case
  seeking nearly $1.6 billion in statutory damages. Putting aside the merits of their claim, their
  concerns, if deemed legitimate, can be addressed in myriad ways. Preclusion is not warranted.


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            Plaintiffs’ primary argument—which appears to be the basis for both their relevance

  objection and their prejudice objection—is that per work revenue cannot “provide a basis to

  understand the relative value of individual works for purposes of assessing statutory damages,”

  because their “lawful sales were cannibalized by the massive piracy ….” Mem. 21. But it is

  undisputed that many of Plaintiffs’ works generated very little, if any, revenue during the Claim

  Period and were subject to equally few, if any, notices of alleged infringement. And there is no

  evidence at all that Plaintiffs’ “lawful sales” of these low-value works were “cannibalized” by

  infringement. A conclusory allegation of “cannibalization” by counsel does not somehow render

  Cox’s evidence irrelevant, and cannot be the basis for a finding of unfair prejudice.

            Plaintiffs also seek to preclude this evidence because Cox’s expert Tregillis only

  considered Plaintiffs’ earnings from a handful of works when opining that

                                                                                         Mem. 22 (citing

  Gould Ex. 12, ¶¶ 80-82). Plaintiffs argue that the evidence is irrelevant because Tregillis did not

  highlight how much Plaintiffs earned from each work in suit. Id. For one, the amount Plaintiffs

  earned from each work is demonstrated by the data they produced. Moreover, Plaintiffs ignore that

  Tregillis                                                                                        With that

  calculation and Plaintiffs’ revenue data, Tregillis can explain to the jury, as he did in his report,

  how much Plaintiffs earned for certain works as opposed to others.74

            Plaintiffs will argue for maximum statutory damages for each of their 10,100 works in suit,

  entitling them to an award of nearly $1.6 billion. In so arguing, Plaintiffs will claim that their core

  asset is their copyrights, and that the value of their core asset has been decimated by piracy. But

  they will also argue that calculating how much they have been harmed by Cox’s alleged piracy is



  74
       Plaintiffs did not ask Tregillis any questions regarding this analysis at his deposition.


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  impossible. The evidence demonstrates that many of the Plaintiffs’ assets were the subject of very

  few infringement notices and generated very little value in the first place. This is important context

  for the jury if they are charged with determining statutory damages in this case.

  IX.    The Witnesses from Whom Plaintiffs Seek Live Testimony Are Unavailable for
         Purposes of Rule 32(a)(4), Making Their Depositions Admissible.

         Plaintiffs argue that Cox should be precluded from offering deposition testimony from four

  Cox employees and two former Cox employees “because they are not unavailable” under FRE

  804(a)(5)(A), making their testimony “inadmissible hearsay.” Mem. 22. They are wrong.

         FRCP 32(a)(4) permits a party to present at trial the deposition of a witness who is “more

  than 100 miles from the place of the hearing or trial … unless it appears that the witness’s absence

  was procured by the party offering the deposition.”75 It is undisputed that all six witnesses

  identified by Plaintiffs (Stifel, Summers, Jarchow, Delgado, Zabek, and Sikes) are located more

  than 100 miles from the courthouse. Because Plaintiffs successfully opposed a motion to change

  venue to Atlanta, which would have brought five of these witnesses within the 100-mile rule, their

  only argument for avoiding Rule 32(a)(4) is their claim that “Cox has procured the absence” of the

  witnesses “by failing to exercise its control over them and bring them to trial.” Mem. 23.

         But the mere facts that the witnesses (1) are (or were) Cox employees or have contractual

  agreements with Cox and (2) will not attend the trial does not mean that Cox has somehow

  “procured” their absence. Courts overwhelmingly agree that the “procuring absence” exception to

  the Rule 32(a) unavailability rule applies only upon a showing that the party offering the deposition

  “actively took steps to keep the deponents from setting foot in the courtroom.” Houser v. Snap-




  75
    Rule 32(a)(4) provides an independent exception to the hearsay rule that is “more permissive”
  than FRE 804. Carey v. Bahama Cruise Lines, 864 F.2d 201, 204 (1st Cir. 1988).


                                                   26
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  On Tools Corp., 202 F. Supp. 181, 189 (D. Md. 1962) (emphasis added). There is no evidence that

  Cox has “actively taken steps” to procure the absence of any witness here.

         Nor does it matter that the witnesses are current or former Cox employees: “because

  procuring absence and doing nothing to facilitate presence are quite different things,’” the “mere

  fact that the deponents are employed by the defendant … is not enough to trigger exclusion” of

  their depositions. Carey v. Bahama Cruise Lines, 864 F.2d 201, 204 (1st Cir. 1988) (quoting

  Houser). As one court explained, the argument “that Defendants have procured” a witness’s

  absence based “solely on the facts that [the witness] works for” defendant and that defendant

  “could require him to attend trial” failed under Rule 32(a)(4), where plaintiff “provided no

  evidence that Defendants have taken any steps to prevent” the witness from testifying. One Source

  Environmental, LLC v. M+W Zander, Inc., 2015 WL 13505360, at *1 (D. Vt. Dec. 8, 2015).76

         Plaintiffs have cited no authority reaching a different result. They identify only two cases

  to support their claim that Cox has “procured” the absence of the witnesses because it “controls”

  them by virtue of employment or contract, and neither is apposite here. Both Fairfield 274-278

  Clarendon Tr. v. Dwek, 970 F.2d 990, 995 (1st Cir. 1992) and Culebra II, LLC v. River Cruises

  and Anticipation Yachts, LLC, 564 F. Supp. 2d 70, 80 (D. Me. 2008) involve the voluntary absence

  from trial of a party to the litigation. They say nothing to suggest that employment or contractual

  relationships of themselves are sufficient to demonstrate that an employer or former employer has

  “procured the absence” of a witness who chooses not to attend trial. Indeed, in a case involving a

  similar claim, a Court of Appeals rejected a litigant’s reliance on Dwek and followed Bahama



  76
    See also, e.g., A.H. ex rel Hadjih v. Evenflo Co., 579 F. App’x 649, 656 (10th Cir. 2014) (quoting
  Bahama Cruise Lines); Wal-Mart Stores, Inc. v. Cuker Interactive, LLC, 2017 WL 1312968, at *2
  (W.D. Ark. April 5, 2017 (same); Forrester Envtl. Servs., Inc. v. Wheelabrator Techs., Inc., 2012
  WL 1161125, at *2 (D.N.H. Apr. 6, 2012) (same); Univeral Elecs., Inc. v. Universal Remote
  Control, Inc., 2014 WL 8096334, at *5 (April 21, 2014) (same).


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  Cruise Lines instead. See A.H. ex rel Hadjih v. Evenflo Co., 579 F. App’x at 656. In the absence

  of any evidence that Cox has “actively taken steps” to prevent the witnesses from attending, the

  hearsay exception in Rule 32(a)(4) applies and permits Cox to use their depositions at trial.

  X.     Cox Should Not Be Forced to Make Key Witnesses Available in Plaintiffs’ Case.

         Plaintiffs seek to preclude Cox from calling four of its own witnesses (Carothers, Beck,

  Sikes, and Zabek) in its case-in-chief unless Cox first make those witnesses available for Plaintiffs’

  case. The Court should reject Plaintiffs’ attempt to skew the order of proof.

         Cox does not intend to call Sikes or Zabek (former Cox employees) at trial, but will present

  their testimony by deposition. See Section IX, supra. That leaves only current Cox employees

  Carothers and Beck. Carothers is Cox’s Principal Security Architect and was its 30(b)(6) designee

  on Cox’s infringement response procedures. Beck was the lead engineer on Cox’s infringement-

  management system, CATS, and was Cox’s 30(b)(6) designee on technical issues relating to Cox’s

  infringement response. Both are important witnesses in support of Cox’s defense.

         There is no rule requiring Cox to make its witnesses available for use in Plaintiffs’ case,

  and Carothers and Beck are outside the Court’s subpoena power. In these circumstances, the

  decision to allow or exclude live testimony from them is a matter within the Court’s discretion

  under Federal Rule of Evidence 611(a). See, e.g., R.B. Matthews, Inc. v. Transamerica Transp.

  Serv., Inc., 945 F.2d 269, 272 (9th Cir. 1991). The Court should exercise that discretion to deny

  Plaintiffs’ motion here. Plaintiffs have sued Cox for $1.6 billion, alleging that Cox’s subscribers

  infringed their copyrights and that Cox knew of that infringement. Carothers and Beck are senior

  members of Cox’s anti-infringement effort, and will represent in part the “face” of that effort at

  trial. To have key Cox witnesses introduced to the jury by Plaintiffs risks not only confusing the

  jury about who Carothers and Beck are and whose cause they support, but also prejudicing Cox

  by creating an initial, hostile impression of the witnesses that would be impossible for Cox to


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  repair when it calls them in support of its own case. Moreover, Plaintiffs have made no attempt to

  explain why they cannot adequately elicit the testimony they seek on cross-examination during

  Cox’s case. That solution would prevent the duplication that would result if the witnesses were

  called twice and would avoid unnecessarily inconveniencing the witnesses. See Rule 611(a). Cox

  acknowledges that some courts have exercised their discretion to grant the relief Plaintiffs seek.

  See generally Mem. 24-27 (citing cases). But no binding authority requires that result, and in this

  case, fairness to Cox’s defense mandates that Plaintiffs’ motion be denied.

  XI.       There are no Grounds to Exclude the Testimony of Victoria Sheckler.

            Plaintiffs seek to exclude the testimony of former RIAA attorney Victoria Sheckler,

  arguing that it would be “duplicative” of the testimony of the RIAA’s 30(b)(6) deponent, Steven

  Marks. There is no basis for excluding Ms. Sheckler’s testimony.

            First, as the RIAA’s Steven Marks admitted,

                                                                       .77 She

                                                               . Plaintiffs claim that these so-called

  “caps” (which Cox twice agreed to increase) demonstrate that Cox was willfully blind to specific

  instances of infringement on its network, while Cox will present evidence that Cox and the RIAA

  jointly agreed to these limitations and that the RIAA rarely if ever sent Cox the maximum number

  of notices. Plaintiffs deposed Cadenhead on this topic (among others) and intend to call him as a

  witness. Cox requested that Plaintiffs designate Sheckler as the RIAA’s 30(b)(6) deposition

  witness given her direct dealings with Cox on this key issue, but they refused. While Plaintiffs

  argue that Cox could elicit the same testimony from Marks, they ignore the fact that Marks is no

  longer employed by the RIAA and refused to answer simple questions relating to Sheckler’s



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       See Ex. I (Marks Dep., 70:20-71:14).


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  statements in emails to Cox, such as confirming that the RIAA was the record label Plaintiffs’

  exclusive agent for sending copyright notices to Cox.78 And because Cox does not intend to elicit

  duplicative testimony from Marks and Sheckler, Plaintiffs’ fears of extending trial are unfounded.

          Second, Sheckler resides in Northern Virginia and is unquestionably under the Court’s

  subpoena power.79 There would be no basis for Ms. Sheckler to quash Cox’s trial subpoena, even

  if she had tried to do so.80 Plaintiffs try to explain away their failure to move to quash the subpoena,

  but do not even attempt to argue that they would meet the standard for quashing a subpoena

  imposed by Rule 45(d)(3)(A).81

          Third, Plaintiffs’ detour into discussing Cox’s attempts to depose Sheckler is a red herring.

  See Mem. at 28-29. After Plaintiffs’ counsel refused to designate Sheckler as the RIAA’s 30(b)(6)

  deposition witness, Cox sought leave of Court to increase the number of depositions permitted per

  side so that it could depose her in her individual capacity. Judge Anderson denied this request on

  the grounds that Cox’s 30(b)(6) notice covered the topics within the scope of Sheckler’s personal

  knowledge, but did not rule on the propriety of Sheckler as a trial witness.

                                           CONCLUSION
          For all these reasons, Plaintiffs’ Omnibus Motion in Limine should be DENIED.




  78
     See id. at 88:18-93:7.
  79
     See id. at 10:11-11:16.
  80
     See Mem. at 28 n. 13.
  81
     Plaintiffs argue briefly that as a non-party, Sheckler “should be spared being called away from
  work and hauled into court for days on end for no good purpose.” Mem. 30. Even if Sheckler had
  properly moved to quash the subpoena, this conclusory sentence is insufficient to show undue
  burden. C.f. Reddick v. Dillard Store Servs., 2010 WL 3025205, at *1 (S.D. Ill. Aug. 2, 2010)
  (requiring a witness to travel over 100 miles for trial, “particularly when his deposition was
  videotaped … imposes undue burden and expense”). Here, Sheckler does not live over 100 miles
  from the trial and Cox was not given the opportunity to depose her.


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                                  CERTIFICATE OF SERVICE

         I certify that on October 30, 2019, a copy of the foregoing was filed electronically with

  the Clerk of Court using the ECF system, which will send notifications to ECF participants.



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